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    8    Mark Bartelstein & Associates, Inc. d/b/a Priority Sports &
         Entertainment
    9
                                UNITED STATES DISTRICT COURT
   10
                              CENTRAL DISTRICT OF CALIFORNIA
   11
                                         WESTERN DIVISION
   12

   13
         AARON L. MINTZ,                              CASE NO.: CV12-2554-SVW (SSx)
   14
                            Plaintiff,                Hon. Stephen V. Wilson
   15
         v.                                           DEFENDANT’S ANSWER TO
   16                                                 PLAINTIFF’S COMPLAINT
         MARK BARTELSTEIN &
   17    ASSOCIATES, INC. d/b/a PRIORITY              [DEMAND FOR JURY TRIAL]
         SPORTS & ENTERTAINMENT,
   18
                            Defendant.
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    1          Defendant Mark Bartelstein & Associates, Inc. d/b/a Priority Sports &
    2    Entertainment (“Priority Sports” or “Defendant”), by and through its undersigned
    3    counsel, hereby files its Answer to Plaintiff Aaron L. Mintz’s (“Mintz”) Complaint
    4    (the “Complaint”) as follows:
    5                                       INTRODUCTION
    6          1.       Priority Sports admits that the State of California has a fundamental
    7    public policy against contracts that prevent workers from engaging in their lawful
    8    business endeavors, but denies that this is a complete statement of California’s public
    9    policy on the subject or that Mintz’s conduct has been lawful. Priority Sports further
   10    admits that California Business and Professions Code § 16600 speaks for itself.
   11          2.       Priority Sports admits that Mintz’s employment contract with Priority
   12    Sports speaks for itself. Priority Sports admits that on March 23, 2012, Mintz
   13    repeatedly lied to Priority Sports about whether the information they had received—
   14    that Mintz was leaving Priority Sports—was true. Priority Sports admits that
   15    sometime after 10:30 p.m. on March 23, Mintz finally admitted that he was resigning
   16    from Priority Sports. Except as expressly admitted, Priority Sports denies the
   17    allegations of paragraph 2.
   18          3.       Priority Sports admits that Mintz is working for a competitor and denies
   19    the remaining allegations of paragraph 3.
   20          4.       Priority Sports is without knowledge or information sufficient to form a
   21    belief as to the truth of allegations of paragraph 4, and on those grounds, denies those
   22    allegations.
   23          5.       Priority Sports admits that Mintz seeks declaratory relief, but expressly
   24    denies that such claim has any merit.
   25          6.       Priority Sports denies the allegations of paragraph 6.
   26    ///
   27    ///
   28    ///
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    1                                 JURISDICTION AND VENUE
    2          7.       Defendant admits that the Court has subject matter jurisdiction pursuant
    3    to 28 U.S.C. §1332, but denies Mintz’s claim has any merit or that Mintz is entitled to
    4    the relief sought.
    5          8.       Priority Sports admits the allegations of paragraph 8.
    6          9.       Priority Sports admits the amount in controversy exceeds $75,000,
    7    exclusive of interest and costs; is without knowledge or information sufficient to form
    8    a belief as to what provision Mintz is terming the “noncompetition clause” and on
    9    those grounds denies those allegations; and denies the remaining allegations of
   10    paragraph 9.
   11          10.      Priority Sports admits that venue is proper in this judicial district, but
   12    denies the remaining allegations of paragraph 10.
   13                                             PARTIES
   14          11.      Priority Sports admits that Mintz resides in Los Angeles, California and
   15    that he was previously employed by Priority Sports as a basketball player agent.
   16    Priority Sports is without knowledge or information sufficient to form a belief as to
   17    the truth of the remaining allegations of paragraph 11, and on those grounds, denies
   18    those allegations.
   19          12.      Priority Sports admits that Priority Sports is an Illinois corporation, and
   20    that the majority, rather than the “vast” majority, of its business activities take place
   21    in Chicago, Illinois and denies the remaining allegations of paragraph 12.
   22                                  FACTUAL BACKGROUND
   23          13.      Priority Sports admits that Mintz was employed by Priority Sports from
   24    September 25, 2001 to March 23, 2012, and that Mintz assisted Priority Sports in
   25    representing professional basketball players on Priority Sports’ behalf and in the
   26    several months before his resignation, on his own and on behalf of his new employer
   27    Creative Artist Agency (CAA”). Priority Sports admits that Mintz resided and
   28    worked in Los Angeles, California and that he also performed his duties in other
                                                    2
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    1    venues throughout the United States. Priority Sports admits that it is a leading sports,
    2    entertainment and media company, but is without knowledge or information sufficient
    3    to form a belief as to the truth of the remaining allegations of paragraph 13, and
    4    therefore denies those allegations.
    5          14.    Priority Sports admits that Mintz voluntarily entered into the
    6    Employment Agreement attached as Exhibit A to the Complaint and that the
    7    Employment Agreement speaks for itself. Priority Sports denies the remaining
    8    allegations of paragraph 14.
    9          15.    Priority Sports admits that the Employment Agreement speaks for itself
   10    and that it is entitled to enforce this agreement consistent with applicable law. To the
   11    extent Mintz suggests that Priority Sports is attempting to enforce the Employment
   12    Agreement in a manner not permitted by applicable law, Priority Sports denies those
   13    allegations of paragraph 15.
   14          16.    Priority Sports admits that the Employment Agreement speaks for itself
   15    and that it is entitled to enforce this agreement consistent with applicable law. To the
   16    extent Mintz suggests that Priority Sports is attempting to enforce the Employment
   17    Agreement in a manner not permitted by applicable law, Priority Sports denies those
   18    allegations of paragraph 16.
   19          17.    Priority Sports is without knowledge or information sufficient to form a
   20    belief as to the truth of the allegations in the first sentence of paragraph 17, and on
   21    those grounds, denies those allegations. Priority Sports is without knowledge or
   22    information sufficient to form a belief as to what provisions Mintz refers to in the
   23    term “noncompetition provisions”, but to the extent Mintz suggests that Priority
   24    Sports is attempting to enforce the Employment Agreement in a manner not permitted
   25    by applicable law, Priority Sports denies those allegations as well as the remaining
   26    allegations of paragraph 17.
   27          18.    Priority Sports admits that California Business and Professions Code §
   28    16600 speaks for itself, but denies the remaining allegations of paragraph 18.
                                                 3
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    1          19.    Priority Sports is without knowledge or information sufficient to form a
    2    belief as to what provisions Mintz refers to in the term “noncompetition provisions”,
    3    but to the extent Mintz suggests that Priority Sports is attempting to enforce the
    4    Employment Agreement in a manner not permitted by applicable law, Priority Sports
    5    denies those allegations as well as the remaining allegations of paragraph 19.
    6          20.    Priority Sports is without knowledge or information sufficient to form a
    7    belief as to what provisions Mintz refers to in the term “noncompetition provisions”,
    8    but to the extent Mintz suggests that Priority Sports is attempting to enforce the
    9    Employment Agreement in a manner not permitted by applicable law, Priority Sports
   10    denies those allegations as well as the remaining allegations of paragraph 20.
   11                    THE CONTROVERSY BETWEEN THE PARTIES
   12          21.    Priority Sports admits that Mintz contends that “noncompetition
   13    provisions” are unenforceable, but Priority Sports is without knowledge or
   14    information sufficient to form a belief as to what provisions Mintz refers to in the
   15    term “noncompetition provisions”. To the extent Mintz suggests that Priority Sports
   16    is attempting to enforce the Employment Agreement in a manner not permitted by
   17    applicable law, Priority Sports denies those allegations as well as the remaining
   18    allegations of paragraph 21.
   19          22.    Priority Sports is without knowledge or information sufficient to form a
   20    belief as to what provisions Mintz is characterizing as “noncompetition provisions” or
   21    what relief will ultimately be accorded to Priority Sports, but admits that it is entitled
   22    to enforce provisions of its Employment Agreement against Mintz consistent with
   23    applicable law and to obtain injunctive relief against Mintz for violation of the
   24    Employment Agreement and applicable law.
   25          23.    Priority Sports admits that the Employment Agreement speaks for itself.
   26    ///
   27    ///
   28    ///
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    1                                      CLAIM FOR RELIEF
    2                                        (Declaratory Relief)
    3           24.    Priority Sports realleges and incorporates by reference as if fully set forth
    4    herein its responses to paragraphs 1-23 above.
    5           25.    Priority Sports is without knowledge or information sufficient to form a
    6    belief as to what Mintz is characterizing as the “noncompetition provisions” in the
    7    Employment Agreement, and on that ground denies the allegations in paragraph 25.
    8           26.    Priority Sports is without knowledge or information sufficient to form a
    9    belief as to what Mintz is characterizing as the “noncompetition provisions” in the
   10    Employment Agreement, and on those grounds denies the allegations of
   11    paragraph 26.
   12           27.    Priority Sports is without knowledge or information sufficient to form a
   13    belief as to what Mintz is characterizing as the “noncompetition provisions” in the
   14    Employment Agreement, and on those grounds denies the allegations of paragraph 27
   15           28.    Priority Sports admits that it believes provisions of the Employment
   16    Agreement that Mintz may be characterizing as “noncompetition provisions” are valid
   17    and enforceable and that it is entitled to enforce those provisions. But Priority Sports
   18    is without knowledge or information sufficient to form a belief as to what Mintz is
   19    characterizing as the “noncompetition provisions” in the Employment Agreement,
   20    and on those grounds denies the allegations of paragraph 28.
   21                                     PRAYER FOR RELIEF
   22           Mintz’s prayer for relief does not contain any allegations. To the extent any
   23    response is required to any paragraph of Mintz’s prayer for relief, including without
   24    limitation paragraphs 1-4, Priority Sports denies paragraphs 1-4 of Mintz’s prayer for
   25    relief. Priority Sports denies that Mintz is entitled to any of the relief whatsoever that
   26    it requests in its prayer for relief.
   27    ///
   28    ///
                                                  5
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    1                                AFFIRMATIVE DEFENSES
    2          Further answering the Complaint and as additional defenses thereto, Priority
    3    Sports asserts the following Affirmative Defenses, without assuming the burden of
    4    proof when such a burden would otherwise be on Mintz.
    5                             FIRST AFFIRMATIVE DEFENSE
    6                                  (Failure to State a Claim)
    7          Mintz’s Complaint fails to state any claim upon which relief can be granted.
    8
                                SECOND AFFIRMATIVE DEFENSE
    9
                                            (Unclean Hands)
   10
               The Complaint and each purported claim alleged therein are barred on the
   11
         ground that Mintz has unclean hands with respect to the matters alleged therein.
   12
                                 THIRD AFFIRMATIVE DEFENSE
   13
                                               (Bad Faith)
   14
               The Complaint and each purported claim alleged therein are barred, in whole or
   15
         in part, because they were brought or have been maintained in bad faith.
   16
                                FOURTH AFFIRMATIVE DEFENSE
   17
                                    (Fraud and/or Illegal Conduct)
   18
               The Complaint and each purported claim alleged therein are barred, in whole or
   19
         in part, by Mintz’s own fraudulent and/or illegal conduct.
   20

   21                            FIFTH AFFIRMATIVE DEFENSE
   22                            (Misappropriation of Trade Secrets)
   23          The Complaint and each purported claim alleged therein are barred, in whole or
   24    in part, on the ground that Mintz has improperly used and is improperly using Priority
   25    Sports’ confidential, proprietary and trade secret information to illegally and unfairly
   26    solicit Priority Sports’ customers and compete with Priority Sports.
   27    ///
   28    ///
                                                 6
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    1                                SIXTH AFFIRMATIVE DEFENSE
    2                                        (Unjust Enrichment)
    3              Mintz would be unjustly enriched if he were awarded the relief sought or any
    4    relief.
    5                              SEVENTH AFFIRMATIVE DEFENSE
    6                        (Material Breach of the Employment Agreement)
    7              The Complaint and each purported claim alleged therein are barred, in whole or
    8    in part, on the ground that Mintz has materially breached the Employment Agreement
    9    entered into between the parties.
   10                               EIGHTH AFFIRMATIVE DEFENSE
   11                                            (Justification)
   12              The Complaint and each purported claim alleged therein are barred, in whole or
   13    in part, on the ground that Priority Sports’ actions were justified.
   14                                NINTH AFFIRMATIVE DEFENSE
   15                                              (Consent)
   16              The Complaint and each purported claim alleged therein are barred, in whole or
   17    in part, on the ground that Priority Sports had Mintz’s consent.
   18                               TENTH AFFIRMATIVE DEFENSE
   19                                               (Waiver)
   20              Mintz has waived recovery by reason of his own conduct, acts, and omissions.
   21                             ELEVENTH AFFIRMATIVE DEFENSE
   22                                              (Estoppel)
   23              Mintz is estopped from recovery by reason of his own conduct, acts, and
   24    omissions.
   25                              TWELFH AFFIRMATIVE DEFENSE
   26                                  (Actions or Conduct of Plaintiff)
   27              Any right of recovery that Mintz asserts is barred, in whole or in part, to the
   28    extent that any loss, damage, or injury that Mintz has allegedly suffered or will suffer,
                                                    7
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    1    as alleged in the Complaint or otherwise, is the direct or proximate result, either in
    2    whole or in part, of Mintz’s own intentional, reckless, negligent or careless conduct.
    3                        THIRTEENTH AFFIRMATIVE DEFENSE
    4                                         (Ratification)
    5          The Complaint and purported claim alleged therein are barred, in whole or in
    6    part, on the ground that Mintz consented to and/or ratified the acts alleged to have
    7    been performed by Priority Sports.
    8                        FOURTEENTH AFFIRMATIVE DEFENSE
    9                                     (Parties’ Agreement)
   10          The Complaint, and each purported claim alleged therein are barred, in whole
   11    or in part, under the terms of the parties’ agreements.
   12                         FIFTEENTH AFFIRMATIVE DEFENSE
   13                                         (Severability)
   14          The Complaint, and each purported claim alleged therein are barred, in whole
   15    or in part, on the ground that the severability clause of the parties’ agreement requires
   16    that: (1) if any provision of the parties’ agreement is found to be invalid and
   17    unenforceable, the remaining provisions shall remain enforceable; and (2) if any
   18    provision of the parties’ agreement is found to be unreasonable or overbroad, such
   19    provisions shall be deemed amended to its reasonable or narrow application to the
   20    extent necessary to make the provision enforceable and shall be enforced as amended.
   21                         SIXTEENTH AFFIRMATIVE DEFENSE
   22                                 (Declaration Contrary to Law)
   23          To the extent the Complaint seeks a declaration that would permit Mintz to
   24    breach valid and enforceable provisions of his Employment Agreement with Priority
   25    Sports and violate the laws of California, Illinois and other states, the declaration
   26    sought is contrary to law.
   27    ///
   28    ///
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    1                     RESERVATION OF ADDITIONAL DEFENSES
    2          Discovery in this action has not yet commenced and Priority Sports continues
    3    to investigate the allegations set forth in the Complaint. Priority Sports specifically
    4    gives notice that it intends to rely upon such other defenses as may become available
    5    by law, or pursuant to statute, or discovery proceedings in this case, and hereby
    6    reserve the right to assert such additional defenses.
    7
                                        PRAYER FOR RELIEF
    8
               WHEREFORE, Defendant Priority Sports requests the following relief:
    9
               1. That Plaintiff take nothing by its Complaint;
   10
               2. For Judgment in favor of Priority Sports and against Plaintiff;
   11
               3. For an Order that Plaintiff pay Priority Sports’ costs of suit incurred herein;
   12
               4. For an Order that Plaintiff pay Priority Sports’ attorneys’ fees; and
   13
               5. For such other and further relief as the Court deems just and proper.
   14

   15
         DATED: April 17, 2012                  GLASER WEIL FINK JACOBS
   16                                            HOWARD AVCHEN & SHAPIRO LLP
   17

   18                                           By: /s/ Adrian M. Pruetz

   19
                                                ADRIAN M. PRUETZ
                                                  Attorneys for Defendant
   20                                             Mark Bartelstein & Associates, Inc. d/b/a
                                                  Priority Sports & Entertainment
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    1                              DEMAND FOR JURY TRIAL
    2          Defendant a Priority Sports respectfully requests a jury trial on all issues triable
    3    by a jury.
    4

    5    DATED: April 17, 2012                  GLASER WEIL FINK JACOBS
                                                 HOWARD AVCHEN & SHAPIRO LLP
    6

    7
                                                By: /s/ Adrian M. Pruetz
    8
                                                ADRIAN M. PRUETZ
    9                                             Attorneys for Defendant
                                                  Mark Bartelstein & Associates, Inc. d/b/a
   10                                             Priority Sports & Entertainment
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